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United States District Court
District of Massachusetts

FRANCINE NICHOLSON,

Plaintiff,
Civil Action No.

Vv. 22-—11322-NMG

MASSACHUSETTS BAY TRANSPORTATION
AUTHORITY,

Defendant.

MEMORANDUM & ORDER
GORTON, J.

This case arises from allegations of employment:
discrimination brought by Francine Nicholson (“Nicholson” or
“plaintiff”), a trolley operator for the Massachusetts Bay
Transportation Authority (“MBTA” or “defendant”). Plaintiff
alleges that she was subjected to ongoing harassment by an MBTA
passenger, Jeffrey Ferrari (“Ferrari”), and that the MBTA failed
to take adequate steps to protect her safety. She further
claims that the MBTA did not reasonably accommodate her
resulting post-traumatic stress disorder (“PTSD”).

In August, 2022, Nicholson filed this action in the
Massachusetts Superior Court for Suffolk County, asserting

claims under both state and federal law, including violations of

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the Americans with Disabilities Act (“ADA”). The MBTA timely
removed the case to this Court, asserting federal question
jurisdiction.

I. Background

a. The Parties

Plaintiff, Francine Nicholson, resides in Brockton,
Massachusetts, and began her employment with the MBTA in 2015.

Defendant, Massachusetts Bay Transportation Authority, is a
“public employer” as defined under the Massachusetts Tort Claims
Act, M.G.L. c. 258, § 1. The MBTA maintains its principal place
of business in Boston, Massachusetts, and operates a light-rail
trolley system called the “Green Line” in the Boston
metropolitan area. The Green Line is composed of four branches:
the Boston College “B” line, the Cleveland Circle “C” line, the
Riverside “D” line and the Heath Street “E” line.

At all relevant times, the following individuals were
employed in various divisions of the MBTA. Ahlam Samrin
(“Samrin”), William Cameron (“Cameron”), Alicia Gomes (“Gomes”),
Tamieka Thibodeaux (“Thibodeaux”), Temesha Allen (“Allen”) and
Margaret Fong (“Fong”) worked in light-rail operations as

instructors or supervisors.! Michael Rutledge (“Detective

1 Plaintiff employs several iterations of the spelling of Ms. Allen’s first
name throughout the pleadings.

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Rutledge”), Sean Conway (“Detective Conway”), Daniel Morse

(“Officer Morse”) and Fred Holt (“Inspector Holt”) were

employees with the MBTA Transit Police Department (“TPD”).
b. The January, 2018 Incident

As of January, 2018, Nicholson was employed as a
motorperson, i.e., a trolley operator, on the Green Line. She
worked a so-called “split shift,” operating trolleys on the “B”
line for the first half of her shift and the “C” line for the
second half.

Nicholson worked primarily out of a large campus for the
Green Line located in Chestnut Hill, Massachusetts. The so-
called “Reservoir Campus” encompasses the Reservoir Yard (where
trolleys are stored between trips), the Car House (where
trolleys are repaired and maintained) and the Reservoir Station
trolley stop. The campus serves as the terminal for all “B”
line and “C” line trolleys entering and going out of service.

In close proximity to Reservoir Campus is a Dunkin Donuts
shop, located at 1995 Beacon Street (“the Dunkin Donuts”). MBTA
employees assigned to the Reservoir Campus, including Nicholson,
often patronized that Dunkin Donuts before, during and after
their shifts.

At some point prior to January, 2018, Jeffrey Ferrari

(“Ferrari”), a member of the public and frequent Green Line

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passenger, began visiting the same Dunkin Donuts and attempted
to befriend Nicholson. According to her, Ferrari was overly
complimentary about her appearance but she kept the
conversations to a minimum.

On January 22, 2018, a manager at the Dunkin Donuts shop
approached Samrin, an MBTA light-rail operations instructor, to
report disconcerting behavior he had witnessed by Ferrari
directed toward Nicholson. According to the manager, Ferrari
visited the store multiple times a day and requested information
about Nicholson from other MBTA employees. The manager also
showed Samrin Ferrari’s Facebook posts discussing Nicholson.

The posts included the following:

FRANCINE MY BEAUTIFUL BABY, I’M HERE AT DUNKIN
DONUTS...FRANCINE YOU RULE BABY.

- BABY EVERYTIME I SEE THE GREEN LINE GO BY HERE ON BEACON
STREET IN BROOKLINE & BRIGHTON THE C TRAIN I’M ALWAYS
LOOKING TO SEE IF YOUR[{sic] DRIVING TODAY, WELL YOU CAN'T
BLAME ME I WANT TO SEE YOUR STUNNINGLY BEAUTIFUL GORGEOUS
FACE & SEXY LIPS BABY.

- BABY THIS CRUSH I HAVE ON YOU IS A NASTY ONE...

- I LOVE YOU SWEETHEART, I KNOW YOUR[sic] MARRIED, YOUR
HUSBAND IS AWAY RIGHT NOW, I WAS TOLD BY ONE OF YOUR T
CO-WORKERS, BUT BABY I FOUND A SPACE FOR YOU IN MY HEART
FOR THE REST OF MY LIFE

Ferrari also posted a drawing of a man and a woman kissing,
with the caption, “JEFFREY AND MY GORGEOUS SWEETHEAR FRANCINE

MAKING OUT FOREVER... .”
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Samrin immediately informed two Green Line supervisors,
Cameron and Gomes, and wrote up an incident report summarizing
the conversation with the manager and attaching photographs of
the Facebook posts. Cameron and Gomes, in turn, contacted TPD
and other MBTA officials, including Nicholson’s supervisor,
Tamieka Thibodeaux, to report Ferrari’s behavior. A memo from
Gomes stated that the Dunkin Donuts manager was extremely
concerned for [plaintiff's] safety because Ferrari made

obscene comments when MP Nicholson enters the establishment

[and told other customers about] things he says he would

“like to do to [her].”

Thibodeaux was also copied on a follow-up email from Gomes,
sent at approximately 11:00 AM, in which Gomes reported that she
had spoken directly to the Dunkin Donuts manager who confirmed
Samrin’s report and expressed concern for his own safety given
Ferrari’s past aggression towards other customers. Gomes stated
that she had instructed the manager to call the Boston Police
Department (“BPD”) if any issues arose during Nicholson's
afternoon shift that day.

After receiving the reports from Samrin and Gomes,
Thibodeaux called plaintiff to discuss Ferrari’s behavior. The
parties differ as to what was said during parts of that
conversation but agree that Thibodeaux altered Nicholson’s_—

scheduled route for the day and asked if she wanted to utilize

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the MBTA’s Employee Assistance Program (“EAP”), which provides
counseling services to employees. They also agree that
Nicholson declined the offer for EAP. According to the MBTA,
Thibodeaux instructed plaintiff to contact TPD and the MBTA’s
Operations Control Center (“OCC”) in the event of any future
issues with Ferrari.

Nicholson denies that Thibodeaux told her to contact TPD or
occ and claims that the only reason she declined EAP was because
Thibodeaux downplayed any potential danger that Ferrari posed to
her. She alleges that Thibodeaux told her that Ferrari had only
expressed an interest in “being her valentine,” but not that the
report included 1) the highly sexual nature of Ferrari’s
Facebook posts and comments to other customers, 2) Ferrari's
mental instability and 3) the indication in Ferrari’s Facebook
posts that another MBTA employee had given him personal details
about Nicholson (i.e., that Nicholson was married and her
husband was “away.”).

Nicholson does acknowledge that, when Thibodeaux asked if
she was aware of Ferrari, she confirmed as much, telling
Thibodeaux that he had been “overly complimentary” of her
appearance but that she had always “kept things cordial” and was

not otherwise concerned.
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The next day, January 23, 2018, TPD Detectives Rutledge and
Conway surveilled the Dunkin Donuts. They observed Ferrari
entering the store around 6:20 AM and making remarks about
Nicholson’s looks to other customers. The officers confronted
Ferrari about his obsession with Nicholson, informing him that
Nicholson was married and had no interest in him. They
instructed Ferrari that he was not to contact Nicholson
directly, board any of her trains or speak to other employees
about her. Ferrari accepted those conditions and admitted that
he had a problem with obsessions, had seen a therapist about it
and had not taken his prescribed medication for several weeks.

Detective Rutledge called Nicholson later that morning and
informed her about his conversation with Ferrari. Nicholson
declined his offer to press charges and stated that she would
wait to see what happened going forward. Rutledge advised her
to use her street car radio to contact OCC and TPD if Ferrari
made any further contact with her, either directly or
indirectly. He also provided her with his cell phone number in
case she wanted to contact him directly.

Nicholson again asserts that she declined to press charges
because Rutledge did not fully advise her about the severity of

Ferrari’s actions.
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c. Harassment Between January, 2018, and September, 2019

Nicholson contends that, following the initial reports of
Ferrari’s behavior, he continued to stalk her at her MBTA stops,
appearing at stops along her route and following her on foot.
She does not provide the approximate dates, times, locations or
frequency of those incidents.

Nicholson avers that whenever Ferrari appeared, she would
verbally report the incident to whichever MBTA official happened
to be on-site at the time and ask him/her to call the police.
According to Nicholson, each official would respond by
instructing her to hide in her trolley booth and continue her
route. Plaintiff also explains that, out of fear for her
safety, she began to enlist a male co-worker to accompany her to
restrooms and when walking between shifts.

Defendant denies that any such instances of harassment
occurred, but, if they did, contends that no one at the MBTA had
actual or constructive knowledge of them because plaintiff never
reported them.

Nicholson acknowledges that she did not call OCC, TPD or
Detective Rutledge to report subsequent incidents. According to
plaintiff, MBTA policies prohibiting cell phone use while on

duty’ and the congestion of the train radio system made it
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difficult to seek immediate help during such encounters.
Defendant vigorously disputes that allegation.

Plaintiff also insists that she did not file written
reports of her harassment because she assumed the officials to
whom she made verbal reports would do so. She claims that she
requested a route transfer from her union but was rebuffed and
instructed to “use the same process as everyone else” to get a
new route assignment.

d. The September, 2019 Incident

On September 10, 2019, Nicholson saw Ferrari when she
visited the Dunkin Donuts but she did not speak to him. The
next day, before she began her shift, she witnessed Ferrari
standing on Beacon Street across from the Cleveland Circle stop.
Nicholson suspected that he had been waiting for her trolley but
she refused to open the door for him. She used her trolley
radio to call occ for help. TPD officers and Gomes arrived on
scene shortly thereafter but Ferrari had already fled.

On September 12, 2019, plaintiff spoke with Allen, another
MBTA supervisor, about the latest incident. The parties dispute
what was said during that conversation. The MBTA claims that
plaintiff did not specifically ask to be moved to another route
but rather “inguired generally about the possibility of

exploring moving her work location.” Allen then advised

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plaintiff to contact her union representative because transfers
were governed by the union’s collective bargaining agreement
(“CBA”). Nicholson indicated that she would do so.

Nicholson, to the contrary, alleges that she specifically
asked Allen about moving to a safer MBTA route but Allen
dismissed her request, saying that she (Allen) “did not have
anything to do with” transfer requests. According to Nicholson,
Allen did not mention the union or the CBA.

The following day, TPD detectives located Ferrari at his
residence. Ferrari admitted that he had attempted to board
plaintiff’s trolley. The detectives again instructed Ferrari to
stay away from plaintiff, including staying away from the Dunkin
Donuts.

e. Aftermath: Criminal Proceeding, Leaves of Absence, MCAD
Complaint and Requests for Accommodation

Plaintiff claims that, on September 17, 2019, she attempted
to file a grievance with her union but was told she could not do
so because “the conduct was not work related.” Three days
later, she commenced authorized leave under the Family Medical
Leave Act (“FMLA”).

On September 23, 2019, Nicholson spoke with Detective
Conway and informed him that she wanted to obtain a restraining

order against Ferrari. The parties differ as to whether, and to

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what degree, TPD assisted Nicholson in pursuing criminal charges
against Ferrari or obtaining the stay-away order. Nevertheless,
Nicholson obtained such an order one week after her discussion
with Detective Conway. In November, 2019, a complaint charging
Ferrari with criminal harassment was issued in Brookline
District Court. The disposition of the case was finalized in
February, 2022, when defendant pled guilty to the charge.

Plaintiff was originally slated to return to work in
October, 2019, but after she received a diagnosis post-traumatic
stress disorder (“PTSD”), the MBTA extended her return-to-work
date to January, 2020.

In January, 2020, Nicholson filed a complaint against the
MBTA and her union (Boston Carmen’s Union, Division #589) with
the Massachusetts Commission Against Discrimination (“MCAD”),
alleging sex discrimination and failure to accommodate her PTSD.
Among the allegations, plaintiff claimed that, at some
unspecified time, she went to her union to request a route
change but was told that she would “need to use the same process
as everyone else to get a different route.” The MBTA denied
liability, asserting that Ferrari’s conduct occurred off MBTA
property and that it had taken appropriate action. The MBTA
also responded that any action by plaintiff’s union was not

attributable to the MBTA.

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While the MCAD matter was pending, correspondence between
Nicholson and the MBTA’s Leave Management Team (“LMT”) reflect
that she requested two additional leave extensions which were
granted in full: first from January, 2020 to April, 2020, and
then from April, 2020 to July, 2020. In each letter granting
the request, the MBTA reminded Nicholson to contact her Leave
Coordinator to discuss any workplace accommodation requests.

In early July, 2020, plaintiff submitted her fourth request
to extend her leave until October, 2020. Defendant granted the
request, in part, extending her leave until August 31, 2020.

The letter once again reminded plaintiff to reach out to her
Leave Coordinator with any accommodation requests. Ina follow-
up letter, plaintiff’s counsel asked LMT to reconsider its
decision to “reject the proper medical documentation” provided
in support of plaintiff’s request for leave until October, 2020.
LMT thereafter approved a further extension until January, 2021.

In late January, 2021, Nicholson’s medical providers again
submitted letters opining that she was not fit to resume work
due to her ongoing PTSD. One doctor indicated unequivocally
that ‘Nicholson was not fit to return to work, while another
stated that she “might” be able to function if transferred to
another route. That doctor indicated, however, that transfer

did not appear to be a “readily available solution for her.”

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LMT continued to provide leave extensions until July, 2021,
at which point members of the LMT had a discussion with
Nicholson regarding her anticipated return-to-work date. During
that conversation, plaintiff avers that she requested to be
temporarily transferred to a light-duty position in Customer
Service or another non-driving position until the criminal case
against Ferrari had concluded. The MBTA declined, claiming that
there were no light-duty positions available. Defendant granted
plaintiff yet another leave extension until October, 2021.

In October, 2021, plaintiff once again requested a leave
extension. As grounds, her therapist explained that plaintiff
was unable to return to work until the criminal proceeding
against Ferrari was concluded. Plaintiff’s counsel averred that
Nicholson could return to work before the proceeding was
complete so long as her accommodation requests were granted.

Lawyers for the MBTA initially denied the request,
explaining that a request with no expected return-to-work date
was per se unreasonable. Defendant further argued that
plaintiff’s position was contradictory and did not articulate
why her ability to perform her job was dependent upon the

conclusion of the criminal proceeding. Despite the dispute,

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defendant approved a final leave extension until June, 2022.2 At
the time, plaintiff had received 33 months of FMLA leave.

Upon her return to work, plaintiff was provided with her
own hand-held radio to contact TPD and OCC in case Ferrari
attempted to contact her.

£. Procedural History

In July, 2022, Nicholson withdrew her MCAD complaint and
filed the instant suit against the MBTA in Suffolk Superior
Court, asserting claims under federal and state anti-
discrimination laws. Defendant timely removed the case to this
Court, pursuant to 28 U.S.C. §§ 1441 and 1446.

Nicholson brings four claims against the MBTA: Count I,
discrimination based on gender and sexual harassment in
violation of M.G.L. c. 151B; Count II, discrimination based on
handicap under M.G.L. c. 151B; Count III, maintaining a hostile
work environment under M.G.L. c. 151B; and Count IV, violations
of the ADA, 42 U.S.C. § 12101 et seq.

In November, 2024, defendant filed the instant motion for

summary judgment on all counts.

2 Ferrari's criminal case was resolved in February, 2022, when he pled guilty
to the charge of criminal harassment, was put on GPS monitoring and ordered
to stay away from Nicholson and the Green Line.

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II. Motion for Summary Judgment

a. Legal Standard

The role of summary judgment is “to pierce the pleadings
and to assess the proof in order to see whether there is a

genuine need for trial.” Mesnick v. Gen. Elec. Co., 950 F.2d

816, 822 (lst Cir. 1991). The burden is on the moving party to
show, through the pleadings, discovery and affidavits, “that
there is no genuine issue as to any material fact and that the
moving party is entitled to judgment as a matter of law.” Fed.
R. Civ. P. 56(c).

A fact is material if it “might affect the outcome of the

suit under the governing law.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). A genuine issue of material fact
exists where the evidence with respect to the material fact in
dispute “is such that a reasonable jury could return a verdict
for the nonmoving party.” Id.

Once the moving party has satisfied its burden, the burden
shifts to the non-moving party to go beyond the pleadings and
set forth specific facts showing that there remains a genuine,

triable issue. Celotex Corp. v. Catrett, 477 U.S. 317, 324

(1986). The nonmoving party must show via “submissions of
evidentiary quality, that a trial worth issue persists.” Iverson

v. City of Boston, 452 F.3d 94, 98 (1st Cir. 2006).

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The Court must view the entire record in the light most
favorable to the non-moving party and indulge all reasonable

inferences in that party's favor. O'Connor v. Steeves, 994 F.2d

905, 907 (lst Cir. 1993).
b. Application

1. Counts I and III: Sex Discrimination / Hostile
Work Environment

As a preliminary matter, although plaintiff asserts
distinct claims of “third party sexual harassment
discrimination” (Count I) and “hostile work environment” (Count
III), those claims are duplicative and allege a single violation

of Chapter 151B. See Martinelli v. Bancroft Chophouse, LLC, 357

F. Supp. 3d 95, 102 (D. Mass. 2019) (explaining that “Chapter
151B prohibit[s] employers from discriminating against their
employees on the basis of sex [and that] [o]ne way that those
provisions are violated is by subjecting an employee to an
abusive or hostile work environment”) .3

The Court will therefore treat the complaint as alleging a

single violation of sex discrimination on a theory of hostile

3 The labels used by plaintiff in her complaint as to Counts I and III are
used interchangeably in other cases to allege a single violation of Chapter
151B. See, e.g., Cagle v. Estes, No. 3:18-CV-10123, 2021 WL 2979029, at *17
(D. Mass. Mar. 24, 2021} (describing a violation of Chapter 151B as “Sex
Discrimination/Creation of a Hostile Work Environment”); Ponte v. Steelcase
Inc., 741 F.3d 310, 319 (ist Cir. 2014) (“Sexual Harassment and Hostile Work
Environment Claim”).

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work environment.’ See Saver v. Belfor USA Grp., Inc., 205 F.

Supp. 3d 209, 214 (describing how the plaintiff was “bas[ing]
her claims for sex discrimination and retaliation upon a hostile
work environment theory”).

Sex discrimination under Chapter 151B encompasses sexual
harassment. Cagle, 2021 WL 2979029, at *17 (quoting Sauer, 205
F. Supp. at 214). A successful claim of a hostile work

environment based on sexual harassment requires a plaintiff to

prove that:
(1) she (or he) is a member of a protected class;
(2) she was subjected to unwelcome sexual harassment;
(3) the harassment was based upon sex;
(4) the harassment was sufficiently severe or pervasive so

as to alter the conditions of plaintiff's employment
and create an abusive work environment;

(5) sexually objectionable conduct was both objectively
and subjectively offensive, such that a reasonable
person would find it hostile or abusive and the victim
did in fact perceive it to be so; and

(6) some basis for employer liability has been
established.

Ponte, 741 F.3d at 320 (quoting Forrest v. Brinker Int’l Payroll

Co., 511 F.3d 225, 228 (lst Cir. 2007)).

4 To the degree that Count III separately alleges a hostile work environment
based on “disability-based neglect,” it cannot survive summary judgment. A
hostile work environment arises from conduct independent of a failure to
accommodate. Carillo v. Constructora Santiago II Corp., No. 16-2600 (CVR),

2018 WL 11476518, at *9 (D.P.R. Mar. 15, 2018). Specifically, it requires
“severe and pervasive” harassment “based upon” Nicholson's disability.

Ponte, 741 F.3d at 320. The record demonstrates no such proactive harassment
occurred.

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With regard to the final element of employer liability, an
employer may be liable for sexual harassment perpetrated by a
non-employee if the employer knew or should have known of the
harassment and failed to take prompt and effective remedial

action. Mod. Cont’1l/Obayashi v. MCAD, 445 Mass. 96, 108-09

(2005). The remedial action must be “prompt [and] reasonably
calculated to stop the harassment and prevent its recurrence”.
Cagle, 2021 WL 2979029, at *17.

The MBTA asserts that Counts I and III fail as a matter of
law because 1) the majority of the harassment did not occur on
MBTA property, 2) there is no evidence that Nicholson was
subjected to harassment between January, 2018 and September,
2019 and 3) the MBTA took remedial actions that were both prompt
and reasonably calculated to stop the two instances of
harassment that did occur. The Court will address each
counterpoint seriatim.

A. Location of the Harassment

The location of the purported harassment is not
dispositive. Massachusetts does not impose a requirement that
harassment must occur on-premises in order to initiate employer
liability, so long as the harassment “affects work terms and

conditions or is otherwise sufficiently linked to the

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workplace.” Cahill v. Silva, 79 Mass. App. Ct. 1122, at *2

(2011); see Salvi v. Suffolk Cnty. Sheriff's Dep’t, 67 Mass.

App. Ct. 596, 605-06 (2006) (“In determining whether a work
environment is hostile, significant out-of-work harassment
may be considered as well.”). Such a limited reading of the
statute would preclude, for example, a supervisor’s lewd
comments made to a subordinate during an off-premises social
event or a co-worker sending inappropriate messages toa
colleague over Zoom.

Here, the sexually offensive comments Ferrari made about
Nicholson over Facebook and to MBTA employees at the Dunkin’
Donuts affected her work conditions and were sufficiently linked
to her workplace. Ferrari’s Facebook posts indicated, among
other things, that he often waited for Nicholson at a Green Line
stop along her route and that one of her MBTA coworkers had told
Ferrari that Nicholson’s husband was “away.” MBTA instructor
Samrin was also informed by the Dunkin Donuts manager that
Ferrari would stay at the store “all day and request personal

information about [plaintiff] from other operators.” When the

5 The First Circuit Court of Appeals (the First Circuit”) has repeatedly
affirmed the same when assessing hostile work environment claims under Title
VII. See, e.g., Crowley v. L.L. Bean, Inc., 303 F.3d 387, 409-10 (1st Cir.
2002) (plaintiff's frightening interactions with a coworker outside of work
could support why his presence created a hostile work environment); Ferris v.
Delta Air Lines, 277 F.3d 128, 135 (lst Cir. 2001) (rape of a flight
attendant by a coworker during an overnight layover in a notel paid for by
the airline occurred in the “work environment”).

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officers arrived at the location to observe Ferrari, he was
talking to an MBTA employee about Nicholson’s “good looks.”
Defendant also does not dispute that the Dunkin Donuts was
located in close proximity to the Reservoir Campus and that MBTA
employees frequently patronized the store before, during and
after their shifts.

To the extent that defendant seeks to use the location of
the harassment to disprove its actual or constructive knowledge
ef the harassment, it fails. One of the undisputed facts in
this case is that defendant did, in fact, have actual knowledge
of at least two instances of Ferrari’s harassment. The fact
that officials took the remedial steps highlighted in
defendant’s motion is proof of their knowledge and of their
understanding that Frerrari’s conduct was affecting (and might
continue to affect) Nicholson’s work conditions.

Thus, defendant may be liable for the third-party
harassment which occurred in January, 2018, to the degree
defendant did not take reasonable steps to remediate the
situation.

B. Additional Instances of Harassment

Plaintiff claims that, between January, 2018 and September,
2019; she was subjected to many instances of harassment as to

which defendant did not take remedial action. In support,

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plaintiff relies exclusively on her own depositions. Those are
not, however, sufficient to sustain plaintiff's opposition to
summary judgment on this question.

The mere fact that Nicholson’s affidavit or deposition
testimony may be self-serving does not discount their weight in
evaluating summary judgment. Rather, their value is contingent
on whether or not they contain “specific factual information
based upon [the party’s] personal knowledge.” Id. If an
affidavit submitted by a plaintiff “merely reiterate[s]
allegations made in the complaint,” it is insufficient.

Santiago-Ramos v. Centennial P.R. Wireless Corp., 217 F.3d 46,

53 (lst Cir. 2000).

Here, the deposition testimony on which plaintiff relies
contain allegations based on Nicholson’s personal knowledge,
i.e., whether she was subjected to additional harassment between
January, 2018, and September, 2019. However, her testimony is
barren of the factual details necessary to overcome summary
judgment.

Just as in her complaint, Nicholson avers in her
depositions that there were “multiple incidents” where Ferrari
stalked her at one of her train stops, that she verbally
reported those incidents to various officials, and that several

other co-workers were aware of the harassment, “checking in on

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(her]” or accompanying her while she was walking to different
shift locations. She avers that the officials who were present
at the scene refused to call the police and instead instructed
her to hide in her train booth and continue the trip.

But just as with her complaint, Nicholson provides no
factual support for those incidents, including, but not limited
to, the approximate number of incidents, an approximate date,
time or location of any incident, the name of any co-worker who
was aware of the harassment or the name of any supervisor to
whom she reported it or requested a transfer.§&

The only meaningful detail that plaintiff provides in her
deposition is her claim that she exchanged text messages with a
co-worker, Kim Malone (“Malone”), about the ongoing harassment.
Plaintiff states that Malone would warn Nicholson whenever she
saw Ferrari loitering at one of the stops along Nicholson's
route. Yet Nicholson produces no screenshots of those text
messages nor deposition testimony from Malone to support her

claims.

* Ar most, Nicholson claims that the harassment occurred “on too many dates to
recount.” In her deposition, she provides last names of a few MBTA officials
to whom she made the in-person reports. Yet, when asked, as part of her
interrogatory responses, to provide names of individuals who might have
evidence in support of her claims, she does not identify any such official.
She also does not provide deposition testimony from any official in support
of her claim.

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Furthermore, plaintiff's justification for failing to
report those incidents to any Green Line supervisor, TPD officer
or other law enforcement strains credulity. Her story is, in
shert, that she was subjected to “constant” harassment, causing
her to fear for her physical safety, and that her pleas for help
went ignored by officials on scene. Nevertheless, plaintiff at
no point, either during or after any incident, called TPD or
spoke to a supervisor about the problem. Plaintiff justifies
this inaction by stating that she assumed the MBTA officials,
the very people who purportedly ignored her pleas for help,
would report the incidents themselves. Plaintiff persists in
that contention, even though she was never contacted by a
supervisor to discuss any incident allegedly reported by an
official.

After careful consideration, this Court concludes that no
reasonable jury could find that additional stalking or
harassment occurred between January, 2018, and September, 2019.
Plaintiff provides no specifics as to the incidents, including

when or how they took place, Cadle Co. v. Hayes, 116 F.3d 957,

961 (lst Cir. 1997), nor does she proffer any deposition
testimony (other than her own) from a single witness to provide

evidentiary support to her claims, Allard v. Citizens Bank, 608

F. Supp. 2d 160, 174 (D. Mass. 2009). Furthermore, although the

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Court must draw inferences in plaintiff’s favor, those
inferences must be reasonable, O'Connor, 994 F.2d at 907, and
here, they are not.

As such, plaintiff’s allegations as to the steps defendant
did (or did not) take to remediate those purported instances of
harassment are irrelevant in determining the reasonableness of
defendant’s remedial steps.

C. Remediation of Two Harassment Incidents
An assessment of whether an employer’s responses were
“prompt and appropriate” to remediate instances of sexual
harassment “often requires the sort of case-specific, fact-
intensive analysis best left to a jury.” Forrest, 511 F.3d at
232. However, when it is undisputed that an employer did take

remedial action, “the reasonableness of [that action] can be

determined as a matter of law.” Mod. Cont’l, 445 Mass. at 110;

Forrest, 511 F.3d at 232. The question is, given the totality
of the circumstances,

[djid the [MBTA] take prompt, effective, and reasonable
remedial action or immediate and appropriate corrective
action once it realized or should have realized that one of
its employees was being victimized by a third party’s
harassment?

Mod. Cont’l, 445 Mass. at 108.

Here, the parties agree on a number of the steps taken by

MBTA personnel to address the two instances of harassment.

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With regard to the January, 2018 incident, the record

demonstrates that:

1)

6)

Samrin reported Ferrari’s inappropriate behavior and
Facebook posts to her supervisors as soon as she learned
of it from the Dunkin Donuts manager;

Those supervisors immediately passed along the disturbing
report to other Green Line officials and TPD;

Green Line supervisor Gomes spoke with the manager of the
Beacon Street Dunkin Donuts to confirm Samrin’s report;

Plaintiff’s supervisor, Thibodeaux, changed plaintiff's
route for the day to avoid any contact with Ferrari;

Thibodeaux discussed the incident with Nicholson and
asked her if she wanted to take advantage of the Employee
Assistance Program (“BAP”), which Nicholson declined;

The next day, TPD surveilled the Dunkin Donuts,
confronting Ferrari about his behavior towards Nicholson
and instructing him not to contact her in any way; and

TPD spoke with Nicholson about Ferrari, including
informing her about his mental instability; when asked if
she wanted to press charges, Nicholson declined.

The Court concludes that the actions taken by MBTA

officials to remediate the harassment were sufficient under the

circumstances.

Within a matter of hours after receiving the report of

Ferrari’s behavior, MBTA officials processed the report up to

high-level supervisors, alerted law enforcement, followed up

directly with the relevant witnesses, temporarily removed

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Nicholson to a different train route for her own protection and
discussed Ferrari’s behavior with Nicholson directly.

Within 24 hours after the report, TPD officers had
Surveilled the scene, identified Nicholson’s harasser and
instructed him to stay away from her. The same day, one of the
responding detectives followed up with Nicholson. He described
his encounter with Ferrari, asked if Nicholson wanted to press
charges and provided her with his personal cell phone number in
case she needed to contact him directly.

Nicholson’s primary criticism is that Supervisor Thibodeaux
did not disclose the extent or seriousness of Ferrari’s behavior
at the time Nicholson was asked if she wanted to report Ferrari
to police. Purportedly, she was not told about the sexual
nature of the Facebook posts, the indication therein that he was
looking for her at train stops, his discussions of (or attempts
to discuss) plaintiff with her co-workers or the fact that
Ferrari was mentally unstable.

At the time Thibodeaux spoke with Nicholson, however, the
MBTA was not aware of Ferrari’s mental instability. Ferrari
self-reported his mental challenges to the TPD detectives who
confronted Ferrari the day after Thibodeaux’s conversation with

Nicholson. Nicholson also acknowledges that when the TPD

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detectives spoke with her, they did inform her of Ferrari’s
mental state and his history of sexual obsessions.

Nicholson disputes whether Thibodeaux instructed her to
contact OCC and TPD if Ferrari reappeared but, again, she
acknowledges that Detective Rutledge not only directed:her to
OCC and TPD but also provided her with his phone number in case
she needed to contact him directly.

As such, any purported deficiency in Thibodeaux’s
disclosures to Nicholson is immaterial to whether the response
of the MBTA was reasonable. Within 24 hours of Thibodeaux’s
discussion with Nicholson, Detective Rutledge had provided her
with the very information she claims Thibodeaux denied her.

With respect to the September, 2019 incident, the parties
do not dispute that:

1) Plaintiff used the two-way radio in her booth to alert
occ and TPD to Ferrari’s presence;

2) TPD responded immediately to the radio call;

3) TPD took plaintiff’s statement that day and followed up
with her several times thereafter;

4) Plaintiff discussed the possibility of a transfer with a
Green Line supervisor, Temesha Allen, but was not given
one; and

5) Plaintiff requested and was approved for FMLA leave one
week following the incident.

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The Court finds that the MBTA’s response to the September,
2019, incident was reasonable and was properly calculated to
remediate the harassment.

The parties primarily dispute whether Nicholson requested a
transfer from Supervisor Allen and how Allen responded to her
request. Plaintiff claims that she approached Allen and
requested to be transferred to a different route due to safety
concerns to which her supervisor responded that she “did not
have anything to do with” transfer decisions. According to the
deposition of MBTA designee Alicia: Gomes, she was not aware of
plaintiff ever asking for any transfer off of her route.
Instead, according to defendant, Nicholson merely “inquired
generally about the possibility of exploring moving her work
location.” Allen advised Nicholson to contact her union
representative to discuss a location change, which Nicholson
indicated she would do.

Nicholson argues, in effect, that defendant could have done
more to facilitate her request for a transfer but that does not
detract from the reasonableness of defendant’s conduct. Mod.
Cont’l, 445 Mass. at 109. As Nicholson’s own MCAD complaint
alluded, she understood that she needed to pursue a route

transfer through her union.

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Finally, plaintiff attempts to cast doubt on the
reasonableness of defendant’s remedial steps by arguing, in her
opposition to the summary judgment motion, that Ferrari
continued to harass her even after she obtained a stay-away
order in September, 2019. That is not contradicted by
plaintiff’s own deposition testimony that after the September,
2019, incident, the only times she has seen Ferrari were when
she attended court in connection with the harassment prevention
order and at his criminal proceeding. In any event, an employer
is not required to eliminate the possibility of harassment by a
third party in order to be shielded from liability. The inquiry
focuses on the reasonableness of the employer’s remedial

efforts, not their ex-post efficacy. Mod. Cont’l, 455 Mass. at

96.

The Court concludes that, under the circumstances, the MBTA
took reasonable steps to remediate the harassment to which
plaintiff was subjected. No reasonable jury would find
otherwise. Defendant’s motion for summary judgment on Counts I
and III will be allowed.

2. Counts II and IV: Reasonable Accommodation

Defendant has also moved for summary judgment with respect
to plaintiff’s claims for failure to make reasonable

accommodation under both the ADA and M.G.L. c. 151B, which are

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evaluated using nearly identical frameworks.’ Jones v. Nationwide

Life Ins. Co., 696 F.3d 78, 86 (1st Cir. 2012).

To prevail on a claim of failure to make reasonable
accommodation under M.G.L. c. 151B.§ 4(16), a plaintiff must
show that 1) she is a qualified handicapped person, 2) she
requested a reasonable accommodation and 3) the employer failed
to accommodate her. Russell, 437 Mass. at 444. A handicapped
person is deemed “qualified” if she is

capable of performing the essential functions of a

particular job, or who would be capable of performing the

essential functions of a particular job with reasonable
accommodation to [her] handicap.
M.G.L. c. 151B, § 1(16).

Similarly, to bring a failure to accommodate claim under
the ADA, a plaintiff must show that 1) she has a qualifying
disability under the ADA, 2) she is qualified to perform her job
with or without reasonable accommodation and 3) her employer

failed to reasonably accommodate her despite knowing of her

disability. Ortiz-Martinez v. Fresenius Health Partners, PR,

LLC, 853 F.3d 599, 604 (1st Cir. 2017).

7 Minor distinctions between reasonable accommodation claims under Chapter
151B and the ADA are not relevant to the analysis in this case. See Russell
vy. Cooley Dickinsen Hosp., Inc., 443 Mass. 443, 454 (2002) (explaining that
the ADA considers reassignment to vacant positions as a reasonable
accommodation whereas Chapter 151B considers only accommodations within
plaintiff's current position).

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When an employee requests an accommodation for a qualifying
disability, both the ADA and Massachusetts law require that the
parties engage in an “interactive process in good faith to

develop reasonable accommodations.” Caruso v. Delta Air Lines,

Inc., 113 F.4th 56, 77 (1st Cir. 2024). However, an employer’s
failure to engage in that process does not, on its own,

constitute a failure to accommodate. Lang v. Wal-Mart Stores E.,

L.P., 813 F.3d 447, 456 (lst Cir. 2016). The employee must also
demonstrate that, had the employer engaged in the interactive
process, the parties would have identified a reasonable
accommodation. Id.

Several facts relevant to a reasonable accommodation
inquiry are not in dispute, namely, 1) that Nicholson had a
qualifying disability under both the ADA and Chapter 151B,

Trahan v. Wayfair Maine, LLC, 957 F.3d 54, 64 (1st Cir. 2020),

2) that she was competent to perform her workplace duties,

3) that she requested several accommodations, thus initiating

the obligation to engage in the interactive process and 4) that

defendant granted some accommodations but not others.
Specifically, the parties agree that the MBTA provided

Nicholson with an extended leave of absence between September,

2019, and June, 2022, including at least five extensions of her

return-to-work date, as well as a portable radio to alert MBTA

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officials if Ferrari re-initiated his harassment. The parties
also agree that Nicholson requested, but the MBTA did not
provide, a variable or light-duty work assignment. Defendant
instead invited plaintiff to apply for new positions posted on
the MBTA intranet if she wished to avoid traveling to the train
stop where she anticipated she would encounter Ferrari.

Where the parties disagree is the reasonableness of the
accommodations requested by plaintiff but rejected by defendant
and whether both parties engaged in the interactive process in
good faith.

Although reasonableness of a requested accommodation is, as

general rule, an inquiry best left for a jury, Garcia-Ayala v.

Lederle Parenterais, Inc., 212 F.3d 836, 647 (ist Cir. 2000),

the fact-intensive nature of the inquiry “does not insulate

“ar

disability-discrimination cases from summary judgment,

Delgado-

Echevarria v. AstraZeneca Pharm. LP, 856 F.3d 119, 128 (lst Cir.

2017). j%In fact, it is the plaintiff’s burden at summary
judgment to demonstrate that a requested accommodation is

facially reasonable. Reed v. LePage Bakeries, Inc., 244 F.3d

254, 259-60 (1st Cir. 2001).
Plaintiff requested two categories of accommodations,
namely, extensions of her FMLA leave and on-site accommodations

once she returned to work. The Court addresses each-in turn.

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A. Extensions of FMLA Leave

As discussed above, the MBTA granted in full Nicholson’s
first three requests for extension of her leave, moving her
return-to-work date from October, 2019 to July, 2020. LMT
denied her fourth extension request, in part, by limiting her
extension to two months, rather than the four months she had
requested. Nicholson characterizes that partial denial as both
a failure to reasonably accommodate and a refusal to participate
in an interactive process to craft alternative accommodations.
Not so.

First, the MBTA is only required to offer accommodations
that are reasonable, “not necessarily the accommodation sought

by the employee.” Sayian v. Verizon New Eng. Inc., No. 19-cv-

11845-DJC, 2022 WL 375287, at *6 (D. Mass. Feb. 8, 2022)

(quoting Bryant v. Caritas Norwood Hosp., 345 F. Supp. 2d 155,

169 (D. Mass. 2004)). The First Circuit has frequently found
requests for extended leaves of absence to be unreasonable.

Garcia-Ayala, 212 F.3d at 649; Sarkisian v. Austin Prep. Sch.,

85 F.4th 670, 676 (lst Cir. 2023) (citing Delgado-Echevarria, 856

F.3d at 130). Regardless, upon reconsideration, the MBTA
granted the requested leave extension for the full four months.
The MBTA’s initial refusal also does not violate its

obligation to engage in the interactive process in good faith.

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Refusal to provide a specific accommodation is not per se
evidence of bad faith on the part of the employer. Kohl’s, 774
F.3d at 132. Moreover, the communications between the parties
demonstrate that both sides engaged in the interactive process.
Following LMT’s notification that it would only extend
plaintiff’s leave until July, 2020, plaintiff’s counsel promptly
wrote to defense counsel asking defendant to reconsider its
decision. Defendant did so, extending plaintiff's leave to
January, 2021.

Plaintiff similarly cites defendant’s resistance to her
November, 2021, request for further leave as evidence of a
failure to accommodate or engage in the interactive process.
Specifically, plaintiff's counsel, in a November, 2021, letter
to the MBTA’s Leave Management Team, insisted that Nicholson
could not return until the criminal case against Ferrari had
concluded. Yet in that same letter, counsel made clear that
Nicholson would be able to return to work regardless of the
outcome of the case, i.e., even if Ferrari was not sentenced to

a prison term, Nicholson could return to work so long as the

® Although, in an interrogatory response, plaintiff claims that, in an email,
an MBTA supervisor stated that she was never asked to, and did not,
participate in an interactive dialogue, plaintiff did not produce that email.

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MBTA provided her with reasonable accommodations, including
reassignment to a different route.
As a general matter, indefinite leave is not a reasonable

accommodation. Kahriman v. Wal-Mart Stores, Inc., 115 F. Supp.

3d 153, 166 n.13 (D. Mass. 2015) (“It is well-settled that an
employer need not provide an indefinite leave of absence as a
reasonable accommodation.”). Moreover, Nicholson drew no
connection between the conclusion of Ferrari’s criminal case and

her ability to perform her job functions. Faiola v. APCO

Graphics, Inc., 629 F.3d 43, 47 (lst Cir. 2010) (“To make out a

reasonable accommodation claim, a plaintiff must show that a
proposed accommodation would enable her to perform the essential
functions of her job.”). In fact, the request demonstrated that
she believed herself to be capable of returning to her position,
so long as her other accommodation requests were met.

Regardless of the reasonableness (or lack thereof) of
plaintiff's additional leave requests, defendant ultimately
granted them to the extent of just under three years.

Plaintiff also alleges that she was “pressured” to return
to work despite the MBTA’s repeated approvals of her requests
for extended leave. Nicholson cites no evidence to support that
claim, nor does she describe the form in which such “pressure”

was exerted, other than to refer vaguely to correspondence

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between LMT and her counsel negotiating the terms of her return
to work. Plaintiff cannot characterize any denial of her
requests as improper pressure, especially on the heels of three

prior, unquestioned continuations of her leave. See Kliskey v.

Making Opportunities Count, Inc., No. 22-cv-40123-MRG, 2025 WL

959257, at *7 (D. Mass. Mar. 31, 2025) (“An employer’s
insistence that an employee return to work following the
expiration of FMLA leave does not constitute coercion or
termination . . .%).

The Court concludes that defendant’s leave-related
accommodations were more than reasonable. The MBTA provided
Nicholson with 33 months of FMLA leave (several more than would
have been reasonable in light of plaintiff's basis for her
October, 2021 extension request). Defendant's pushback at
various stages in the negotiations with plaintiff's counsel does
not constitute either a failure to accommodate or a failure to
engage in the interactive process. Finally, plaintiff does not
dispute that she was able to return to work in June, 2022.

B. Reassignment Accommodations

According to the correspondence between LMT and plaintiff's
counsel, Nicholson requested reassignment to a different

position at the same pay grade that was

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either a light duty position or a driving position with an

agreed Safety Plan in place . .. include[ing] the

following components: (i) OAD variable assignment [where
she would drive on different train lines]; (ii) Hand-held

radio and other appropriate technology; and, (iii)

Emergency Response plan.

As a preliminary matter, under Chapter 151B, a request to
transfer to a different position from the one for which
plaintiff was initially hired is not considered a reasonable
accommodation. Russell, 437 at 454. Plaintiff’s request for a
light-duty assignment, i.e.,’a non-driving position, is thus not
reasonable under Count II. In any event, plaintiff states in
her deposition that she did not want to explore light-duty
positions because she “liked the job that she had.”

Similar contradictions appear throughout plaintiff’s
deposition with regard to her requests for reassignment to a
driving position with a different route.

For example, plaintiff indicated in her response to
interrogatories that she requested assignment to routes that
“avoid geographic regions of the city including the Green Line
and Mattapan without a decrease in pay or loss of ranking.” In
her deposition testimony, however, she states that she told the
MBTA that she “want{[ed] to stay on the Green Line” and

acknowledges that the Mattapan line does not pass by the area of

Beacon Street that she was hoping to avoid.

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Nicholson also insists that she did not choose to drive on
the “E” line or Mattapan routes (i.e., routes that did not
travel past locations or include stops where she had seen
Ferrari) because it would lower her rating and reduce her pay.
She admits in her deposition, however, that she did not know how
the pay of people working on other lines compared to her
compensation on her current route because she did not look up
the information on the MBTA intranet. It is all the more
confusing that plaintiff admits in her deposition that, upon
returning to work in June, 2022, she participated in the process
of choosing her route assignment and proactively chose the split
route of the “BY” and “C” branches of the Green Line.

Nevertheless, although reassignment to a vacant position
may be a reasonable accommodation, it is Nichoison’s burden
first to show that such a position exists. Lang, 813 F.3d at
456. She does not do so. Nicholson admits that she never once
accepted the MBTA’s invitation to explore the alternative
positions available to her so that she might determine if there
were any positions that would meet the numerous criteria she
sets forth in her pleadings, namely, a Green Line driving
position that would not 1) involve stops near the area where she

had been harassed, 2) decrease her pay, 3) affect her rank, 4)

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increase her commute time or 5) conflict with her attendance at
a support group.

This Court concludes that no rational finder of fact could
find a genuine issue of material fact under the circumstances
present here. Plaintiff’s preferred reassignment was a moving
target which she had the initial burden of identifying. She did
not do so.

Next, plaintiff requested both

1) a hand-held radio [that] will allow her a direct means to
call Security or [TPD], if necessary, in the event that
Mr. Ferrari is spotted in her vicinity .. .. [and]

2) the appropriate technology in addition to the currently
proposed hand-held radio so that she can adequately
communicate if an emergency situation arises.

The MBTA accommodated Nicholson's first request. As to the
second, plaintiff does not define what additional technology she
believes was necessary, nor does she explain why the hand-held
radio was not sufficient on its own. Thus, her request was not
“sufficiently direct and specific . . . [nor does she]
explain[s] how the accommodation [was] linked to [her]
disability.” Jones, 696 F.3d at 89.

Finally, plaintiff requested that the MBTA develop an
“Emergency Response Plan,” i.e., establish a protocol in the
event Nicholson requests emergency assistance. Once again,

plaintiff fails to demonstrate the prima facie reasonableness of

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that request. Nicholson does not explain why the general
protocol, as laid out in the MBTA’s harassment and violence
prevention policies, would not adequately accommodate her PTSD.
Furthermore, she does not identify any specific steps with which
she would have defendant supplement its current policies. See

Freadman v. Metro. Property & Cas. Ins. Co., 484 F.3d 91, 102-03

(lst Cir. 2007). As demonstrated by the MBTA’s timely response
to the September, 2019, incident, the typical protocol followed
by TPD reasonably minimized Nicholson’s contact with Ferrari and
sought to prevent any further harassment:

In sum, there is no genuine dispute of material fact as to
whether defendant reasonably accommodated plaintiff's PTSD after
her return to work. Defendant provided her with a personal
radio to communicate directly with TPD and OCC and invited her
to apply for any vacant position for which she wanted to be
considered. Nicholson fails to show why any other requested
accommodation that the MBTA declined to make was facially
reasonable. The MBTA therefore was under no legal obligation to

provide it.

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ORDER
For the foregoing reasons, the motion of defendant, the
Massachusetts Bay Transportation Authority, for summary judgment

(Docket No. 33) is, as to all claims, ALLOWED.

So ordered.

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Nathaniel M. Gorton
United States District Judge

Dated: May/2, 2025

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